Case 1:19-cr-00018-ABJ Document 12-2 Filed 01/29/19 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

V. Case 1:19-cr-00018-ABJ

ROGER J. STONE, JR.

Defendant.
/

ORDER GRANTING MOTION FOR ADMISSION OF ATTORNEY ROBERT C,
BUSCHEL PRO HAC VICE

The Court has reviewed the Defendant Roger Stone's motion for admission of attorney
Robert Buschel pro hac vice. Upon consideration of that motion, the Court grants attorney
Robert Buschel pro hac vice admission to this Court.

IT IS SO ORDERED.

DATED:

 

Amy Berman Jackson
United States District Judge
